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13
                         IN THE UNITED STATES DISTRICT COURT
14
                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
15
                                       SAN JOSE DIVISION
16
     JOHN STOSSEL, an individual,                  Case Number: 5:21-cv-07385-VKD
17
                                Plaintiff,         LR 6-2(A) STIPULATION TO EXTEND
18
                                                   DEADLINE FOR DEFENDANTS TO
           v.                                      FILE MOTION FOR ATTORNEYS’
19
                                                   FEES AND COSTS AND [PROPOSED]
     META PLATFORMS, INC., a Delaware
20                                                 ORDER
     corporation; SCIENCE FEEDBACK, a French
21   non-profit organization; and CLIMATE
     FEEDBACK, a French non-profit organization,
22
                                Defendants.
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                                                       STIP TO EXTEND DEADLINE FOR DEFS’ FEES MOT.
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 1              Pursuant to Civil Local Rules 6-1(b), 6-2, and 7-12, Plaintiff John Stossel, Defendant Meta

 2   Platforms, Inc. (“Meta”), and Defendant Science Feedback 1 (collectively, the “Parties”)

 3   respectfully submit this Stipulation to extend the deadline for Defendants Meta and Science

 4   Feedback to file their respective motions for attorneys’ fees and costs. This stipulated request is

 5   supported by the accompanying declaration of Molly M. Jennings.

 6              WHEREAS, Plaintiff John Stossel filed the Complaint on September 22, 2021 (Dkt. No.

 7   1);

 8              WHEREAS, Meta moved to dismiss the Complaint pursuant to Federal Rule of Civil

 9   Procedure 12(b)(6) and to strike the claims asserted against Meta pursuant to California’s

10   anti-SLAPP statute on November 29, 2021 (Dkt. No. 27, “Meta’s Motion”);

11              WHEREAS, Science Feedback moved to dismiss the Complaint pursuant to Federal Rule

12   of Civil Procedure 12(b)(6) and to strike the claims asserted against Meta pursuant to California’s

13   anti-SLAPP statute on January 31, 2022 (Dkt. No. 50, “Science Feedback’s Motion”);

14              WHEREAS, the Court held a hearing on both Meta’s Motion and Science Feedback’s

15   Motion on April 12, 2022 (Dkt. No. 58);

16              WHEREAS, on October 11, 2022, the Court granted both Meta’s Motion and Science

17   Feedback’s Motion without leave to amend and required Meta and Science Feedback to file a

18   noticed motion for attorneys’ fees and costs in compliance with Civil Local Rule 54-5 “[i]f

19   defendants seek an award of attorneys’ fees and costs pursuant to the anti-SLAPP statute, Cal.

20   C.C.P. § 425.16(c)(1)” (Dkt. 67);

21              WHEREAS, the Court entered judgment in favor of Meta and Science Feedback on the

22   same day (Dkt. 68);

23              WHEREAS, pursuant to Civil Local Rule 54-5, Meta’s and Science Feedback’s respective

24   motion for attorneys’ fees and costs will be due on October 25, 2022, i.e., “within 14 days of entry

25   of judgment by the District Court, unless otherwise ordered by the Court after a stipulation to

26   enlarge time under Civil L.R. 6-2 or a motion under Civil L.R. 6-3”;

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         Originally sued as “Science Feedback and Climate Feedback.”
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                                                                       STIP TO EXTEND DEADLINE FOR DEFS’ FEES MOT.
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 1           WHEREAS, the Parties agreed to extend the deadline for Meta and Science Feedback to

 2   file their respective motions for attorneys’ fees and costs from October 25, 2022 to November 22,

 3   2022;

 4           WHEREAS, the Parties believe that the moderate extension will allow the Parties sufficient

 5   time to conduct meaningful meet-and-confer sessions in compliance with Civil Local Rule 54-

 6   5(a);

 7           WHEREAS, extending the deadline for Meta and Science Feedback to file their respective

 8   motions for attorneys’ fees and costs will not affect any other date already set by Court order;

 9           IT IS HEREBY STIPULATED AND AGREED by the Parties that the deadline for

10   Meta and Science Feedback to file their respective motions for attorneys’ fees and costs shall be

11   extended from October 25, 2022 to November 22, 2022.

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     Case 5:21-cv-07385-VKD Document 70 Filed 10/17/22 Page 4 of 6




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 2                                          DHILLON LAW GROUP INC.

 3   Dated: October 14, 2022                By:     /s/ Krista L. Baughman
                                                    KRISTA L. BAUGHMAN
 4

 5                                          Attorneys for Plaintiff John Stossel

 6

 7
     Dated: October 14, 2022                WILMER CUTLER PICKERING
 8
                                             HALE AND DORR LLP
 9
                                            By:     /s/ Molly M. Jennings
10                                                  MOLLY M. JENNINGS
11                                          Attorneys for Defendant Meta Platforms, Inc.
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14   Dated: October 14, 2022                DAVIS WRIGHT TREMAINE LLP
15                                          By:     /s/ Thomas R. Burke
16                                                  THOMAS R. BURKE

17                                          Attorneys for Defendants Science Feedback
                                            and Climate Feedback
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                                                  STIP TO EXTEND DEADLINE FOR DEFS’ FEES MOT.
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 1                                      [PROPOSED] ORDER

 2   PURSUANT TO STIPULATION, IT IS SO ORDERED that:
 3          The deadline for Meta and Science Feedback to file their respective motions for
 4   attorneys’ fees and costs shall be extended from October 25, 2022 to November 22, 2022.
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 6             October 17, 2022
      Dated: ________________________
 7                                                           By: Hon. Virginia K. DeMarchi

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                                                                          CASE NO. 5:21-CV-07385-VKD
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 1                                   ATTORNEY ATTESTATION

 2          I, Molly M. Jennings, am the ECF User whose ID and password are being used to file this

 3   Stipulation and accompanying proposed order. In compliance with Civil Local Rule 5-l(h)(3), I

 4   hereby attest that concurrence in the filing of this document and all attachments has been

 5   obtained from each signatory.

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 7    Dated: October 14, 2022                            By:    /s/ Molly M. Jennings
                                                                 Molly M. Jennings
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